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                                                                                                              1875 K Street, N.W.
                                                                                                              Washington, DC 20006-1238

                                                                                                              Tel: 202 303 1000
                                                                                                              Fax: 202 303 2000

                                                                                               January 30, 2025

VIA ECF

The Honorable Lewis J. Liman
United States District Court
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl St.
New York, NY 10007

 Re:     Lively v. Wayfarer Studios LLC et al., No. 1:24-cv-10049-LJL; Wayfarer Studios LLC
         et al. v. Lively et al., No. 1:25-cv-00449-LJL

Dear Judge Liman:

        The parties submit this joint letter and proposed case management plan and scheduling
order in advance of the conference in the above-captioned matters scheduled for Monday, February
3, 2025. See Exhibit 1. Further, in accordance with the Court’s Individual Rules of Practice, Rule
4(B) the parties identify below the reasons for certain stipulated-to deviations from the default
deadlines listed in italics in the Case Management Plan available on Judge Liman’s website:

      Proposed CMP No. 4: Any motion to amend or join additional parties shall be filed no
       later than April 18, 2025. This date differs from this Court’s default 30-day deadline of
       March 5, 2025. One or more of the parties anticipate amending their complaint(s) and/or
       joining additional parties and would benefit from the additional time to prepare such
       filings.

      Proposed CMP No. 6: All fact discovery is to be completed no later than August 14, 2025.
       This date differs from this Court’s default 120-day deadline of June 3, 2025. The parties
       expect that discovery will start immediately, but believe that this August deadline is
       justified in light of a substantial number of third-party subpoenas that may cause delays,
       the complexities that may arise from sensitive discovery collections in connection with
       parties in these proceedings, and additional unforeseen circumstances.

      Proposed CMP No. 8: All expert discovery, including disclosures, reports, rebuttal
       reports, production of underlying documents, and depositions shall be completed by
       October 15, 2025. This date is 62 days after the completion of fact discovery, which differs
       from this Court’s default 45-day deadline. The parties anticipate that expert discovery will
       be significant in this matter, in order to describe complex issues including digital media
       and tracing. The parties believe that the two additional weeks will afford the parties
       necessary time to conduct expert discovery in these proceedings.

            B RUSSELS   C HICAGO   D ALLAS   F RANKFURT       H OUSTON    L ONDON    L OS A NGELES   M ILAN
               M UNICH    N EW Y ORK   P ALO A LTO   P ARIS    R OME     S AN F RANCISCO   W ASHINGTON
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      Proposed CMP No. 12: Any motion for summary judgment must be filed no later than
       November 5, 2025. This date is 21 days after the completion of all discovery, which differs
       from this Court’s default 14-day deadline. The parties believe that an additional week will
       allow the parties necessary time to prepare complex briefing after the conclusion of
       discovery, including incorporating expert testimony into summary judgment submissions.

        On January 30, 2025, the parties discussed these deadlines and determined that there is
good cause for each of the deviations from the default schedule to create a workable schedule for
these proceedings in light of the complexities of the case, including the anticipated volume of
discovery and numerous parties and claims. The parties respectfully submit that these deadlines
will avoid unnecessary additional requests for extension of the schedule, while allowing the parties
to work diligently in preparing for the trial date set by the Court for March 9, 2026.



                                                     Respectfully submitted,

                                                     s/ Michael J. Gottlieb_______

                                                     WILLKIE FARR & GALLAGHER LLP
                                                     Michael J. Gottlieb
                                                     Kristin E. Bender
                                                     Willkie Farr & Gallagher
                                                     1875 K Street NW
                                                     Washington, DC 20006
                                                     (202) 303-1000
                                                     mgottlieb@willkie.com
                                                     kbender@willkie.com

                                                     MANATT, PHELPS & PHILLIPS, LLP
                                                     Esra A. Hudson (pro hac vice)
                                                     Stephanie A. Roeser (pro hac vice)
                                                     Manatt, Phelps & Phillips LLP
                                                     2049 Century Park East, Suite 1700
                                                     Los Angeles, California 90067
                                                     (310) 312-4000
                                                     ehudson@manatt.com
                                                     sroeser@manatt.com

                                                     Attorneys for Blake Lively and Ryan
                                                     Reynolds




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